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                      UNITED STATES DISTRICT COURT                   (")
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                      SOUTHERN DISTRICT OF GEORGIA                         I .J
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                                                                                       n
                           BRUNSWICK DIVISION                              C ~
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UNITED STATES OF AMERICA                 )      INDICTMENT NO.
                                         )
v.                                       )      18 U.S.C. § 876(c) ~       J
                                         )      Mailing Threatening        -
                                                                           r .,
ANDRE TWITTY                             )      Communications             er
                                         )
                                         )      18 U.S.C. § 115(a)(l)(B)
                                         )      Impeding and Retaliating Against
                                         )      Federal Law Enforcement by
                                         )      Threats

THE GRAND JURY CHARGES THAT:

                     INTRODUCTION AND BACKGROUND

      1.     On or about February 20, 2020, Defendant ANDRE TWITTY was

sentenced to a term of imprisonment in the District of Colorado. The Bureau of

Prisons designated him to the Federal Correctional Institution ("FCI") at Coleman,

in Florida to serve his sentence. Defendant TWITTY remained incarcerated at FCI

Coleman until May 2023.

      2.     On or about September 18, 2022, Defendant TWITTY sent a letter to the

Sunset Memorial Funeral Home in Kokomo, India na. The letter requested their least

expensive cremation service stating, "I am quite sure that my time will come to an

end on the 5 th March 2023. If not then, then it will occur next September 2023."

      3.     On or about October 22, 2022, Defendant TWITTY sent another letter

to the Sunset Memorial Funer al home. In the letter, Defendant TWITTY agreed to

the cost for crem ation services of $3,045. He further st ated:
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       I have to complete my mission first, then I will make my way back to my old
       home. Now, I have sent a letter to your mayor about releasing my ashes out
       behind sycamore. Honestly, I will be dead, so it will not matter.

       The extra $100 to have my remains returned to Kokomo is fine as well. But, I
       am not sure of where I will be if I am not found in Kokomo, it will be in a note
       on my body.

       4.    On or about May 10, 2023, Defendant TWITTY was released from FCI

Coleman. He met with two different United States Probation Officers in Denve1·,

Colorado on May 11, 2023. During these meetings, Defendant TWITTY stated that

he was upset about restrictions placed on him and he would "much rather go get his

guns and kill himself."    Further, he expressed anger towards the United States

Marshals Service and the Bureau of Prisons. Defendant TWITTY also stated he had

a list of 14 people he planned to kill, and that he will "cut someone's throat if they lie

to [him]."

       5.    On or about May 16, 2023, Defendant TWITTY told a halfway house

case manager where he was residing that his original plan when he got out of prison

was to "kill a bunch of people," but he made a promise to give the system a shot first.

Defendant TWITTY also stated, "I don't have anything left to live for."

       6.    On or about May 19, 2023, Defendant TWITTY sent an article titled,

"TERRORISM THE SECRETS OF BOMB MAKING" to the United States Probation

Office in Denver, Colorado. The article discusses the utility of arson, ambushes,

biological and chemical attacks, and explosive devices and their use against targets

such as "utilities, hotels, houses of government, and industrial centers."




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       7.    On or about June 2, 2023, Defendant TWITTY violated the terms of his

supervised release by being present in an exclusion zone, to wit: standing outside the

Alfred A. Arraj United States Courthouse in Denver, Colorado.

      8.     On or about August 14, 2023, Defendant TWITTY told a United States

Probation Officer that he had a deadline for himself by October. When questioned,

he stated it was a deadline for something he needed to accomplish by October but

would not provide any further details.

      9.     On or about August 25, 2023, Defendant TWITTY again met with a

United States Probation Officer and made references to the "people on his list."

Defendant TWITTY stated, "I know where these people live all of them" Further,

"Google is amazing," and "I could just go get a rifle with a Leopold scope and at 0'dark

30 get um through their window in their home."           Defendant TWITTY further

mentioned being a "country boy with military experience and a darn good shot."

      10.    On or about August 27, 2023, Defendant TWITTY was arrested on a

warrant for violating the terms of his supervised release. When asked if he had any

weapons on his person, Defendant TWITTY responded, "not yet." When questioned

about this statement, Defendant TWITTY responded, "It's going down at the Federal

Building and you're not supposed to know about it."

      11.    On or about August 28, 2023, at his initial appearance for the supervised

release violation, in Victim #l's presence, Defendant TWITTY stated, "I'd rather go

back to prison do my nine months or a year then do what I have to do, that's it."




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Defendant TWITTY also stated, "It doesn't matter because Judge (name known to

the Grand Jury) know the end result when I release again, so it doesn't matter."

       12.    At all times relevant herein, Victim #1 was employed as a Special Agent

with the Federal Bureau of Investigation.

       13.    Victim #1 was assigned to investigate threats made by Defendant

TWITTY.

       14.    On or about September 1, 2023, Victim #1 obtained a search warrant

authorizing the search and seizure of Defendant TWITTY's mobile telephone, to

search, in part, for the list of 14 people.

       15.    After a hearing on October 17, 2023, Defendant TWITTY's supervised

release was revoked and he was re-sentenced to a term of imprisonment, followed by

a term of supervised release.

       16.    The Bureau of Prisons designated Defendant TWITTY to serve his

sentence at the Federal Correctional Institution ("FCI") in Jesup, Georgia.        He

arrived at FCI Jesup on December 1, 2023.

       17.    On or about October 24, 2023, Defendant TWITTY sent Victim #1 a

letter while still housed in a detention facility in Colorado.

       18.    Starting on or about December 12, 2023, to on or about February 11,

2024, Defendant TWITTY sent an additional six letters via the United States Postal

Service, from FCI Jesup addressed to Victim #1 at his place of employment, the FBI

office in Denver, Colorado.




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      19.    In one of these letters, dated December 18, 2023, addressed to Victim

#1, Defendant TWITTY quoted a poem he claimed was his own, titled, "THE ANGRY

BLACK MAN," which stated the following:

      Down in the Country, on a cold October Night. No one heard your bitch-ass
      scream, when I stabbed you with that knife. Then dragged you to the bushes,
      and cut your fucking throat. Now laugh now mother fucker, you thought it was
      all a joke. Then in the dark of night, I reached for the AX raised it high in the
      air, and cut your ass in half. Never said a word, hell! I wasn't even mad. Just
      cut your ass into Pieces, and threw 'em in a bag. And down by the river, where
      I dug a deep ass hole. Threw your ass down in there, Shit! Who is ever gonna
      know. Because I told your bitch ass once, but you failed to understand. Don't
      ever fuck around with THE ANGRY BLACK MAN.

      20.    In the same letter, Defendant TWITTY referenced several books titled,

"THE BLACK BOOK OF REVENGE," "How To KILL," "SILENT DEATH," "Kill List"

and "Freed To Kill, The True Story of Serial Murderer Larry Eyler."

      21.    Also, on or about December 18, 2023, Defendant TWITTY sent a letter

to the Director of the Federal Bureau of Prisons in Washington D.C., in which he

stated, "I have far more important things to deal with in 6 mos. The USMS and FBI

think!! They know. They have not a clue!!"

      22.    In Defendant TWITTY's letters to Victim #1, he repeatedly claimed that

an actual list of 14 people did not exist. In a letter dated January 7, 2024, addressed

to Victim #1, and mailed to the Federal Bureau of Investigation office in Denver,

Colorado, Defendant TWITTY stated, "the problem with you all is simple! You cannot

read my mind."

      23.    In the letter dated February 11, 2024, Defendant TWITTY stated, "Do

you really believe I would maintain an alleged Kill list on my - Phone!- Really??"


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Defendant TWITTY also included a quote from court records that was written about

him, which stated, "He's the sort of guy that remember everything he's ever read seen

and stated," followed by, "So why write it down?"

      24.    Victim #2 collectively includes members of the United States Probation

Office in Atlanta, Georgia.

      25.    United States Probation Officers are federal law enforcement officers.

      26.    The United States Probation Office in Atlanta is responsible for

supervising Defendant TWITTY when he is released from FCI Jesup, which is

anticipated to occur in or about July 2024.

      27.    On or about April 9, 2024, Defendant TWITTY met with a Bureau of

Prisons Unit Manager in FCI Jesup.         In the meeting, Defendant TWITTY was

informed that he could not be submitted for a halfway house placement, because he

still had probation to serve in Atlanta, Georgia. Defendant TWITTY became angry

and agitated stating that he will not report to the Probation Office in Atlanta, Georgia

to continue his probation. However, he will report to the Probation Office to kill

everyone who works there, including a probation officer from years ago. Defendant

TWITTY also stated he will die when he gets out of Federal prison and reports to

Atlanta to complete the killings of the Probation Officers. When told by the Unit

Manager that he could not threaten people, Defendant TWITTY responded, it was

not a threat but a promise. He added, he would die that day as well. Defendant

TWITTY requested information for the Sunset Memorial Gardens and Funeral Home

in Kokomo, Indiana to make his funeral arrangements.


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                                  COUNT ONE
                       Mailing Threatening Communications
                                18 U.S.C. § 876(c)

      The allegations set forth in Paragraphs 1 through 23 are hereby realleged and

incorporated by reference.

      In or about October 2023, to in or about February 2024, in the Southern

District of Georgia and elsewhere, the Defendant,

                                 ANDRE TWITTY,

knowingly and willfully caused to be delivered by the United States Postal Service

according to the directions thereon, a letter addressed to Victim #1, a federal law

enforcement officer, known to the Grand Jury, which contained threats to injure

Victim#l.

      In violation of Title 18, United States Code, Section 876(c).




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                                 COUNT TWO
    Impeding and Retaliating Against Federal Law Enforcement by Threatening
                             18 U.S.C. § 115(a)(l)(B)

       The allegations set forth in Paragraphs 1 through 11 and 15 through 27 are

hereby realleged and incorporated by reference.

       On or about April 9, 2024, in the Southern District of Georgia and elsewhere,

the Defendant,

                                  ANDRE TWITTY,

knowingly threatened to assault and murde1' Victim #2, Federal law enforcement

officers, known to the Grand Jury, with the intent to impede, intimidate, and

interfere with such officials while engaged in the performance of their official duties

and with intent to retaliate against such officials on account of the performance of

official duties.

       In violation of Title 18, United States Code, Section 115(a)(l)(B).




                           (Signatures follow on next page)


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                                         A True Bill.




                                   E. Greg • lu y, Jr.
                orney              Deputy Chief, Criminal Division
                                   *Co-lead Counsel




Tania D. Groover
Assistant United States Attorney   Assistant United States Attorney
Chief, Criminal Division           *Co-lead Counsel




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